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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE mfg BY-- . D.C.

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AN‘I'HONY FoRsTER , mOM,¢S M. GOULD
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Plaintiff, WUG`V?YWH%
v. No. 04-2661-Dv

BOBBY REYNOLDS, et al.

Defendants.

 

ORDER DENYING MOTION FOR CONTINUANCE OF
SCHEDULING CONFERENCE AS MOOT

 

Before the court is the pro se plaintiff's Motion Requesting
a Continuance of the Rule l€(b) Scheduling Conference set
August 25, 2005. On July 26, 2005, notice was sent to the parties
that a scheduling conference would be held on August 25, 2005. In
reviewing the file for the conference, it was discovered that the
plaintiff was incarcerated in Nashville. Scheduling conferences
are not held in cases filed by pro se prisoner plaintiffs.
Instead, the court chooses deadline dates and enters a scheduling
order to govern the case. The Scheduling Order was entered
August 23, 2005, and the conference was canceled. Therefore the
Motion for a Continuance is denied as moot.

It is SO ORDERED this 31st day of August, 2005.

 
  
 

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wm ama 55 and ‘9{°’ UNITED sTATEs MAGISTR.ATE JUDGE w

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:04-CV-02661 Was distributed by faX, mail, or direct printing on
September 8, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

